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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                     UNITED STATES DISTRICT COURT
                                                              for the
                                               __________ District of NEVADA

                  United States of America                       )
                             v.                                  )      Case No. 2:20-cr-00009-JAD-VCF
                                                                 )
                   STEPHANIE GEORGE                              )
                            Defendant                            )

                                        ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

          Lloyd D. George, U.S. Courthouse
Place:                                                                  Courtroom No.:      3A
          333 Las Vegas Blvd., South
          Las Vegas, NV 89101
                                                                        Date and Time:      10/16/2020 2:30 p.m.


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:      October 15, 2020
                                                                                           Judge’s signature


                                                                          DANIEL J. ALBREGTS, U.S. Magistrate Judge
                                                                                         Printed name and title
